
*305OPINION.
Van Fossan:
The only matter requiring our consideration is whether or not the $3,000 initial payment made under the Mills contract was taxable income received by the decedent, Crews, in the year 1920. All other issues raised by the pleadings were abandoned by the petitioner.
The contract of sale is a tripartite agreement under which Crews and his daughters engaged to convey their independent interests in the farm to Mills for the consideration therein specified. Crews was. the owner of a life estate in the farm and the daughters were the owners of the fee, and in the agreement of sale the parties evidenced their intention to preserve their respective interests in the proceeds to be derived from the sale. Crews, after receiving a stipulated sum of $10,000 as reimbursement for improvements made to the property, was to receive all interest and profits from the balance of the proceeds during his lifetime. It is clear from a' consideration of this agreement as a whole that the daughters would receive no benefit from or any part of the proceeds of the sale until after the death of Crews. When, therefore, Mills paid the $3,000 to Mrs. Crews she received money belonging to Crews, and that sum was in law received by him at the time it was paid to her. (See Appeal of Julia A. Strauss, 2 B. T. A. 598.) It is immaterial that Mrs. Crews also acted as the agent of the daughters. Since they had no interest in or title to the $3,000 payment and were to receive no benefit from any of the proceeds of sale so long as Crews lived and the agreement remained unmodified, it can not be said that Mrs. Crews received the $3,000 as agent for the daughters. The fact that Mrs. Crews subsequently paid the money to the daughters instead of to Crews does not alter the fact that it had been received by Crews. The circumstances surrounding the transfer of this sum to the daughters showed it to be nothing more *306than an advancement or loan from Crews. It was not paid to them in recognition of any right or title thereto.
Although Crews received the $3,000 it does not follow that it was taxable income to him. Respondent calls attention to the forfeiture clause of the contract under which this sum was designated as rent upon default by the purchaser, and urges that as rent it was income to Crews under the contract. That clause, however, is not determinative of the question before us, nor do we conceive it to be material. Whatever may have been the intention or purpose of the parties in stipulating that payments forfeited upon default should be considered rent, whether or not the payment was in fact income at the time made must be determined from all the facts and circumstances existing at that time. Default and forfeiture under the contract were not availed of until 1923 and can not alfect the nature of a payment made in 1920. We must determine whether' or not the $3,000 was in fact taxable income in 1920. The name by which the parties may provide that such payment shall be called upon the happening of a future event, which may or may not happen, is immaterial.
The contract clearly expresses the intention that Crews should be reimbursed to the extent of $10,000, out of the first payments made upon the principal purchase price, for improvements to the property made by him. The only payment of any nature made under the contract was the $3,000 initial payment upon principal, which was considerably less than the amount specified in the contract as reimbursement to Crews for improvements and was even insufficient to reimburse him for' the drainage system, the installation and cost of which is not disputed.
Upon the whole record we think it evident that the $3,000 received by Crews in 1920 was not taxable income, but was a partial reimbursement of his capital investment. It was, therefore, not taxable. Appeal of Mandel Brothers, 4 B. T. A. 341, 351.
Judgment will he entered on 15 days’ notice, under Rule 50.
Considered by Marquette, MillikeN, and Phillips.
